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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 FAR NORTH PATENTS, LLC,
                                                       CIVIL ACTION NO. 6:20-CV-218
       Plaintiff,
                                                       ORIGINAL COMPLAINT FOR
          v.                                           PATENT INFRINGEMENT

 ADVA OPTICAL NETWORKING SE,                           JURY TRIAL DEMANDED


       Defendant.


                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Far North Patents, LLC (“Far North Patents” or “Plaintiff”) files this original

complaint against Defendant ADVA Optical Networking SE (“ADVA” or “Defendant”),

alleging, based on its own knowledge as to itself and its own actions and based on information

and belief as to all other matters, as follows:

                                              PARTIES

         1.     Far North Patents is a limited liability company formed under the laws of the

State of Texas, with its principal place of business at 18383 Preston Rd Suite 250, Dallas, Texas,

75252.

         2.     Defendant ADVA Optical Networking SE is a European company. ADVA

Optical Networking SE has an office at Fraunhoferstraße 9a, 82152 Martinsried, Germany.

         3.     ADVA Optical Networking SE and its foreign and United States subsidiaries,

affiliates, and related companies (“ADVA and its affiliates”) comprise one of the world’s largest

manufacturers of communications equipment.
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       4.      ADVA and its affiliates are part of the same corporate structure and distribution

chain for the making, importing, offering to sell, selling, and/or using of the accused devices in

the United States, including in the State of Texas generally and this judicial district in particular.

       5.      ADVA and its affiliates share the same management, common ownership,

advertising platforms, facilities, distribution chains and platforms, and accused product lines and

products involving related technologies.

       6.      Thus, ADVA and its affiliates operate as a unitary business venture and are jointly

and severally liable for the acts of patent infringement alleged herein.

                                 JURISDICTION AND VENUE

       7.      This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).

       8.      This Court has personal jurisdiction over ADVA pursuant to due process and/or

the Texas Long Arm Statute because, inter alia, (i) ADVA has done and continues to do business

in Texas; and (ii) ADVA has committed and continues to commit acts of patent infringement in

the State of Texas, including making, using, offering to sell, and/or selling accused products in

Texas, and/or importing accused products into Texas, including by Internet sales and sales via

retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

and/or committing a least a portion of any other infringements alleged herein. In the alternative,

ADVA is subject to this Court’s specific personal jurisdiction consistent with the principles of

due process and the Federal Long-Arm Statute of Fed. R. Civ. P. 4(k)(2) because: (1) it has

substantial contacts with the United States and committed and/or induced acts of patent




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infringement in the United States; and (2) it is not subject to jurisdiction in any state’s courts of

general jurisdiction.

       9.      Venue is proper as to ADVA, which is organized under the laws of Europe. 28

U.S.C. § 1391(c)(3) provides that “a defendant not resident in the United States may be sued in

any judicial district, and the joinder of such a defendant shall be disregarded in determining

where the action may be brought with respect to other defendants.”

                                         BACKGROUND

       10.     The patents-in-suit generally pertain to communications networks and other

technology used in the provision of wireless services, Voice over Internet Protocol (“VoIP”)

phone systems, high speed networking, and other advanced communication services. The

technology disclosed by the patents was developed by personnel at Path1 Network Technologies

Inc. (“Path1 Network Technologies”).

       11.     Path1 Network Technologies is a provider of video over IP services and solutions.

The patents developed at Path1 Network Technologies (“the Fellman patents”) relate to

providing service guarantees for time sensitive signals in computer networks. The inventors of

these patents include Dr. Ronald D. Fellman and Dr. Rene L. Cruz. Drs. Fellman and Cruz, both

former professors of electrical and computer engineering at the University of California at San

Diego, were pioneers in network technology. Dr. Fellman was an IEEE Senior Member, and his

work was published in several IEEE Transactions journals, including IEEE Transactions on

Networking, IEEE Transactions on Parallel and Distributed Systems, IEEE Transactions on

Systems, Man, and Cybernetics, IEEE Transactions on Signal Processing, IEEE Transactions on

Very Large Scale Integration (VLSI) Systems, IEEE Transactions on Acoustics, Speech and

Signal Processing. He was also a co-founder of Path1 Network Technologies and of Qvidium



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Technologies. Dr. Cruz, a distinguished scholar in the field of communication networks, was

said to have established the field of Network Calculus. In Dr. Cruz’s election to be a Fellow of

the IEEE in 2003, he was “cited for his expertise in the area of Quality-of-Service guarantees in

packet-switched networks.”

http://jacobsschool.ucsd.edu/news/news_releases/release.sfe?id=1385.

       12.     The Fellman patents (or the applications leading to them) have been cited during

patent prosecution hundreds of times, by numerous leading companies in the computer

networking and telecommunications industries, including ABB Research, Alcatel, AMD,

Amazon, AT&T, Atheros Communications, Avaya, Bose, Broadcom, Canon, Centurylink, Chi

Mei Optoelectronics, Ciena, Cox Communications, Dell, Ericsson, F5 Networks, Fujitsu,

General Electric, Hitachi, Honeywell, Intel, IBM, Lucent, Lutron, Microsoft, National

Instruments, National Semiconductor, NEC, Nortel Networks, Oceaneering, Path1, Phillips,

Qualcomm, Robert Bosch, Rockwell Automation, Samsung, Siemens, Sonos, Sony, Symantec,

Texas Instruments, Toshiba, Ubiquiti Networks, Verizon, and Viasat.

                                            COUNT I

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 8,306,053

       13.     On November 6, 2012, United States Patent No. 8,306,053 (“the ‘053 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Methods and Apparatus for Providing Quality-of-Service Guarantees in Computer

Networks.”

       14.     Far North Patents is the owner of the ‘053 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘053 Patent against infringers, and to collect damages for all relevant times.



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       15.     ADVA made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its ADVA FSP 150-

GO102Pro and ADVA FSP 150-GE102Pro families of products that include advanced quality of

service capabilities (collectively, “accused products”).




(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)

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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




(Source : https://www.newswiretoday.com/news/168708/)




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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-ge-100-pro-series.ashx?la=de-

DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)




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           Case 6:20-cv-00218-ADA Document 1 Filed 03/25/20 Page 8 of 128




(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-ge-100-pro-series.ashx?la=de-

DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)

       16.     By doing so, ADVA has directly infringed (literally and/or under the doctrine of

equivalents) at least Claims 1 and 14 of the ‘053 Patent. ADVA’s infringement in this regard is

ongoing.

       17.     ADVA has infringed the ‘053 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including a device adapter

comprising a transmission unit configured to transmit data from a real time device via a network

according to a time frame, wherein the time frame is substantially synchronized in the device

adapter and at least one other device adapter, the time frame repeating periodically and including

a plurality of assigned time phases and a free access phase. For example, the accused products

are configured to be used to implement the IEEE 802.1Q standard. IEEE standard 802.1Q

implements a method in which a time aware bridged LAN transmits data from one end point i.e.,

Precision Time Protocol (“PTP”) instance to another. The endpoints transmit data that is a mix

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of time-critical traffic and other traffic, (i.e., real time data and non-real time data) via PTP

instances such as bridges (device adapters). The end point can be either a real time device or a

non-real time device. The bridged network uses 802.1AS base time to synchronize all the clocks

of ports associated with bridges (device adapters). Using the Best Master Clock Algorithm, the

synchronization time signal is transmitted from a grandmaster to other ports. IEEE Std.

802.1AS™-2011 is normative and essential to implement an IEEE Std. 802.1Q Compliant

System. IEEE Std. 802.1Q-2018 defines parameters, such as AdminBaseTime and

OpenBaseTime, which are used to synchronize the clocks across the network. The bridges

containing ports schedule the transmission of traffic based on the synchronized time. Each port

associated with a specific set of transmission queues includes a plurality of transmission gates. A

transmission gate can be in a closed state or open state. The functionality of assigned time phases

is achieved using open gates transmitting data packets during transmission time. The

functionality of a free access phase is achieved when the gates are opened for transmission

during any time. IEEE Std. 802.1Q-2018 supports cyclic queuing and forwarding structures to

create synchronized frames and gates which repeat periodically (Annex T).




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(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)


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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: https://avnu.org/wp-content/uploads/2014/05/as-kbstanton-8021AS-tutorial-0714-
v01.pdf)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)


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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015)).




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       18.     The accused products include a device adapter that is configured to transmit data

during at least one of an assigned time phase associated with the device adapter prior to

transmission of data from the real-time device by the device adapter, and included in the plurality

of assigned time phases, or the free access phase, to refrain from transmitting data during time

phases of the plurality of assigned time phases that are not associated with the device adapter,

and to be able to determine whether to defer transmission of data during the assigned time phase

associated with the device adapter and the free access phase to allow a non-real time device to

transmit data. For example, the accused products are configured to be used to implement the

IEEE 802.1Q standard. IEEE standard 802.1Q shows that scheduling of ports’ transmission

gates for transmission of data starts prior to the transmission of real-time data. The functionality

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of assigned time phases is achieved using open gates transmitting data packets during scheduled

transmission time. Per Clause 8.6.8 of the IEEE Std. 802.1Q, each time phase is assigned to a

specific device adapter prior to transmission of real-time data by the specific device adapter.

Furthermore, IEEE 802.1Q performs traffic shaping through Per-Stream Filtering and Policing

(PSTP). IEEE standard 802.1Q implements a method in which open gates transmit data packets

during transmission time and closed gates refrain data packets from transmission. The

functionality of assigned time phases is achieved using open gates transmitting data packets

during transmission time. The functionality of free access phase is achieved by the gates that are

opened for transmission during any time. IEEE Std. 802.1Q supports Forwarding and Queuing

Enhancements for Time Sensitive Streams. Thus, one of the plurality of device adaptors is

configured to transmit data during at least one of a respective assigned time phase or free access

phase, to refrain from transmitting data during time phases not assigned to the respective one of

the plurality of device adapters. IEEE Std. 802.1Q provides traffic shaping for various classes of

data transmission and determining whether to defer transmission of data during at least one of

the assigned time phase or the free access phase to allow a non-real time device to transmit data.




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))



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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       19.     ADVA has infringed the ‘053 Patent by using the accused products and thereby

practicing a method that includes transmitting a synchronization signal at regular intervals to

synchronize local clocks of each of a plurality of device adapters. For example, the accused

products are used by ADVA to implement the IEEE 802.1Q standard. IEEE standard 802.1Q

implements a method in which a time aware bridged LAN use 802.1AS base time to synchronize


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all the clocks of ports associated with bridges (device adapters) by periodically (regular

intervals) sending the Announce messages. Using Best Master Clock Algorithm, the

synchronization time signal is transmitted from a grandmaster to other ports via periodic

Announce messages. IEEE Std. 802.1AS™-2011 is normative and essential to implement an

IEEE Std. 802.1Q Compliant System. IEEE Std. 802.1Q-2018 defines parameters, such as

AdminBaseTime and OpenBaseTime, which are used to synchronize the clocks across the

network.




(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: https://avnu.org/wp-content/uploads/2014/05/as-kbstanton-8021AS-tutorial-0714-
v01.pdf)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       20.     The methods practiced by ADVA’s use of the accused products include

maintaining a substantially synchronized time frame among the plurality of device adapters

interconnected by a network, the time frame repeating periodically and including a plurality of

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assigned time phases and a free access phase. For example, the accused products are used by

ADVA to implement the IEEE 802.1Q standard. The time aware bridged LAN uses 802.1AS

base time to maintain synchronized time for all the ports in the bridges (device adapters). The

bridges containing ports schedule the transmission of traffic based on the synchronized time.

Each port associated with a specific set of transmission queues includes a plurality of

transmission gates. A transmission gate can be in a closed state or open state. The functionality

of assigned time phases is achieved using open gates transmitting data packets during

transmission time. The functionality of free access phase is achieved when the gates are opened

for transmission during any time. IEEE Std. 802.1Q-2018 supports cyclic queuing and

forwarding structures to create synchronized frames and gates which repeat periodically (Annex

T).




(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
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v01.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       21.     The methods practiced by ADVA’s use of the accused products include assigning

each time phase to a specific device adapter prior to transmission of real-time data by the specific

device adapter. For example, the accused products are used by ADVA to implement the IEEE

802.1Q standard. IEEE standard 802.1Q shows that scheduling (assigning) of transmission gates

starts prior to the transmission of real-time data. Per clause 8.6.8 of the IEEE Std. 802.1Q, each

time phase is assigned to a specific device adapter prior to transmission of real-time data by the

specific device adapter. IEEE 802.1Q performs traffic shaping through Per-Stream Filtering and

Policing (PSTP).




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       22.     The plurality of device adaptors recited above in connection with ADVA’s use of

the accused products includes a respective one of the plurality of device adapters that is

configured to transmit data during at least one of a respective assigned time phase or the free

access phase, to refrain from transmitting data during time phases not assigned to the respective

one of the plurality of device adapters, and to determine whether to defer transmission of data

during at least one of the assigned time phase or the free access phase to allow a non-real time

device to transmit data. For example, the accused products are used by ADVA to implement the

IEEE 802.1Q standard. IEEE standard 802.1Q implements a method in which open gates

transmit data packets during transmission time and closed gates refrain data packets from

transmission. The functionality of assigned time phases is achieved using open gates transmitting

data packets during transmission time. The functionality of free access phase is achieved by the

gates that are opened for transmission during any time. IEEE Std. 802.1Q supports Forwarding

and Queuing Enhancements for Time Sensitive Streams. Thus, one of the plurality of device

adaptors is configured to transmit data during at least one of a respective assigned time phase or

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free access phase, to refrain from transmitting data during time phases not assigned to the

respective one of the plurality of device adapters. IEEE Std. 802.1Q provides traffic shaping for

various classes of data transmission and determining whether to defer transmission of data

during at least one of the assigned time phase or the free access phase to allow a non-real time

device to transmit data.




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

        23.     ADVA has had knowledge of the ‘053 Patent at least as of the date when it was

notified of the filing of this action.

        24.     Far North Patents has been damaged as a result of the infringing conduct by

ADVA alleged above. Thus, ADVA is liable to Far North Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.


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       25.     Far North Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘053 Patent.

                                            COUNT II

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 6,246,702

       26.     On June 12, 2001, United States Patent No. 6,246,702 (“the ‘702 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Methods and Apparatus for Providing Quality-of-Service Guarantees in Computer

Networks.”

       27.     Far North Patents is the owner of the ‘702 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘702 Patent against infringers, and to collect damages for all relevant times.

       28.     ADVA made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its ADVA FSP 150-

GO102Pro and ADVA FSP 150-GE102Pro families of products that include advanced quality of

service capabilities (collectively, “accused products”).




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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




(Source : https://www.newswiretoday.com/news/168708/)




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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-ge-100-pro-series.ashx?la=de-

DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)




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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-ge-100-pro-series.ashx?la=de-

DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)

       29.     By doing so, ADVA has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 27 of the ‘702 Patent.

       30.     ADVA has infringed the ‘702 Patent by using the accused products and thereby

practicing a method for regulating traffic in an Ethernet network including real-time devices,

non-real-time devices, a network medium, and a plurality of device adapters connected between

the devices and the network medium, each of the device adapters including a clock. For

example, the accused products are used by ADVA to implement the IEEE 802.1Q standard.

IEEE standard 802.1Q (Qbv) implements a method for scheduling traffic in time aware Local

Area Network (Ethernet network). The time aware network includes multiple end points

(devices) and bridges that includes ports (device adapters). The endpoint and bridges are

connected via interconnects (network medium). Also, each time aware bridge including port is a

boundary clock. The endpoints transmit data that is a mix of time-critical traffic and other traffic,

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i.e., real time data and non-real time data. The end point is either a real time device or a non-real

time device. IEEE Std. 802.1AS™ is normative and essential to implement an IEEE Std. 802.1Q

Compliant System.




(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))
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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       31.     The methods practiced by ADVA’s use of the accused products include defining a

common time reference for the device adapters, said common time reference including a frame

of time having a plurality of time phases, each of device adapters being uniquely assigned to one

of said plurality of time phases, said plurality of time phases including a free-access phase. For

example, the accused products are used by ADVA to implement the IEEE 802.1Q standard. The

time aware bridged LAN use 802.1AS base time to maintain synchronized time (common time

reference) for all the ports in the bridges (device adapters). The bridges containing ports schedule

the transmission of traffic based on the synchronized time. Each port associated with a specific

set of transmission queues includes a plurality of transmission gates. A transmission gate can be

in a closed state or open state. The functionality of assigned time phases is achieved using open



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gates transmitting data packets during transmission time. The functionality of free access phase

is achieved when the gates are opened for transmission during any time.




(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))

       32.     The methods practiced by ADVA’s use of the accused products include allowing

a device adapter to transmit packets during said time phase uniquely assigned thereto and during

said free-access phase. For example, the accused products are used by ADVA to implement the

IEEE 802.1Q standard. The open gates assigned to the transmission queue of a port (device

adapter) transmit the data packets during the transmission time. The transmission selection

algorithm determines the transmission time. If the gates are in permanent open state, the data

packets are transmitted from the gates during any time. The functionality of assigned time phases

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is achieved using open gates transmitting data packets during transmission time. The

functionality of free access phase is achieved when the gates are permanently opened for

transmission during any time.




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))

       33.    The methods practiced by ADVA’s use of the accused products include

designating one of said device adapters as a master timing device. For example, the accused

products are used by ADVA to implement the IEEE 802.1Q standard. The ports of the time




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aware bridge (device adapter) uses best master clock algorithm (BMCA) to determine a potential

grandmaster port (master timing device).




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)

       34.    The methods practiced by ADVA’s use of the accused products include

synchronizing the clocks of the remaining device adapters with said master timing device. For

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example, the accused products are used by ADVA to implement the IEEE 802.1Q standard. The

boundary clocks of the slave ports in the time aware bridges (remaining device adapters) are

synchronized with the grandmaster boundary clock (master timing device).




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)

       35.     Far North Patents has been damaged as a result of the infringing conduct by

ADVA alleged above. Thus, ADVA is liable to Far North Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.




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       36.     Far North Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘702 Patent.

                                           COUNT III

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 6,215,797

       37.     On April 10, 2001, United States Patent No. 6,215,797 (“the ‘797 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Methods and Apparatus for Providing Quality of Service Guarantees in Computer

Networks.”

       38.     Far North Patents is the owner of the ‘797 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘797 Patent against infringers, and to collect damages for all relevant times.

       39.     ADVA made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its ADVA FSP 150-

GO102Pro and ADVA FSP 150-GE102Pro families of products that include advanced quality of

service capabilities (collectively, “accused products”).




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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




(Source : https://www.newswiretoday.com/news/168708/)




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(Source : Screenshot of PDF downloaded from https://www.adva.com/-/media/adva-main-

site/resources/data-sheets/pdfs/fsp-150-ge-100-pro-series.ashx?la=de-

DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)




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site/resources/data-sheets/pdfs/fsp-150-ge-100-pro-series.ashx?la=de-

DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)

       40.     By doing so, ADVA has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 30 of the ‘797 Patent.

       41.     ADVA has infringed the ‘797 Patent by using the accused products and thereby

practicing a method for regulating traffic in a network including devices for generating packets

of data, a network medium for carrying the packets, and a plurality of device adapters connected

between the devices and the network medium. For example, the accused products are used by

ADVA to implement the IEEE 802.1Q standard. IEEE standard 802.1Q (Qbv) implements a

method for scheduling traffic in time aware Local Area Network. The time aware network

includes multiple end points that transmit data packets and bridges that includes ports (device

adapters). The interconnects (network medium) carry the transmitted data packets. The endpoints

and bridges are connected via interconnects.




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(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)



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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       42.     The methods practiced by ADVA’s use of the accused products include defining a

common time reference for the device adapters, said common time reference including a frame

of time having a plurality of time phases, each device adapter being uniquely assigned to one of

said plurality of time phases, said plurality of time phases including a free-access phase. For

example, the accused products are used by ADVA to implement the IEEE 802.1Q standard. The

time aware bridged LAN uses 802.1AS base time to maintain synchronized time (common time

reference) for all the ports in the bridges (device adapters). The bridges containing ports are

scheduled for transmission of traffic based on the synchronized time. Each port associated with a

specific set of transmission queues includes a plurality of transmission gates. A transmission gate

can be in a closed state or open state. The functionality of assigned time phases is achieved using

open gates transmitting data packets during transmission time. The functionality of free access

phase is achieved when the gates are opened for transmission during any time. IEEE Std.

802.1AS™-2011 is normative and essential to implement an IEEE Std. 802.1Q Compliant

System.

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(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks - Timing and Synchronization
for Time - Sensitive Applications in Bridged Local Area Networks - IEEE Std 802.1AS™-2011)




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)

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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))

       43.     The methods practiced by ADVA’s use of the accused products include allowing

a device adapter to transmit packets during said time phase uniquely assigned thereto and during

said free-access phase. For example, the accused products are used by ADVA to implement the

IEEE 802.1Q standard. The open gates assigned to the transmission queue of a port (device

adapter) transmit the data packets during the transmission time. The transmission selection

algorithm determines the transmission time. If the gates are in permanent open state, the data

packets are transmitted from the gates during any time. The functionality of assigned time phases
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is achieved using open gates transmitting data packets during transmission time. The

functionality of free access phase is achieved when the gates are permanently opened for

transmission during any time.




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))

       44.    The methods practiced by ADVA’s use of the accused products include cyclically

repeating said frame. For example, the accused products are used by ADVA to implement the


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IEEE 802.1Q standard. IEEE Std. 802.1Q-2018 supports cyclic queuing and forwarding

structures to create synchronized frames and gates that are repeated periodically (Annex T).




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))

       45.     Far North Patents has been damaged as a result of the infringing conduct by

ADVA alleged above. Thus, ADVA is liable to Far North Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       46.     Far North Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘797 Patent.




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                                           COUNT IV

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 8,891,504

       47.     On November 18, 2014, United States Patent No. 8,891,504 (“the ‘504 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Methods and Apparatus for Providing Quality of Service Guarantees in Computer

Networks.”

       48.     Far North Patents is the owner of the ‘504 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘504 Patent against infringers, and to collect damages for all relevant times.

       49.     ADVA made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its ADVA FSP 150-

GO102Pro and ADVA FSP 150-GE102Pro families of products that include advanced quality of

service capabilities (collectively, “accused products”).




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site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




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site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




(Source : https://www.newswiretoday.com/news/168708/)




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site/resources/data-sheets/pdfs/fsp-150-ge-100-pro-series.ashx?la=de-

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site/resources/data-sheets/pdfs/fsp-150-ge-100-pro-series.ashx?la=de-

DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)

        50.     By doing so, ADVA has directly infringed (literally and/or under the doctrine of

equivalents) at least Claims 1 and 6 of the ‘504 Patent.

        51.     ADVA has infringed the ‘504 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including a device adapter

comprising a transmission unit configured to transmit data from a real time device via a network

according to a time frame, wherein the time frame is substantially synchronized in the device

adapter and at least one other device adapter, the time frame repeating periodically and including

a plurality of assigned time phases and a free access phase. For example, the accused products

are configured to be used to implement the IEEE 802.1Q standard. IEEE standard 802.1Q

implements a method in which a time aware bridged LAN transmits data from one end point i.e.,

Precision Time Protocol (“PTP”) instance to another. The endpoints transmit data that is a mix

of time-critical traffic and other traffic, (i.e., real time data and non-real time data) via PTP

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instances such as bridges (device adapters). The end point can be either a real time device or a

non-real time device. The bridged network uses 802.1AS base time to synchronize all the clocks

of ports associated with bridges (device adapters). Using the Best Master Clock Algorithm, the

synchronization time signal is transmitted from a grandmaster to other ports. IEEE Std.

802.1AS™-2011 is normative and essential to implement an IEEE Std. 802.1Q Compliant

System. IEEE Std. 802.1Q-2018 defines parameters, such as AdminBaseTime and

OpenBaseTime, which are used to synchronize the clocks across the network. The bridges

containing ports schedule the transmission of traffic based on the synchronized time. Each port

associated with a specific set of transmission queues includes a plurality of transmission gates. A

transmission gate can be in a closed state or open state. The functionality of assigned time phases

is achieved using open gates transmitting data packets during transmission time. The

functionality of a free access phase is achieved when the gates are opened for transmission

during any time. IEEE Std. 802.1Q-2018 supports cyclic queuing and forwarding structures to

create synchronized frames and gates which repeat periodically (Annex T).




(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)


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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)


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(Source: https://avnu.org/wp-content/uploads/2014/05/as-kbstanton-8021AS-tutorial-0714-
v01.pdf)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)


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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015)).




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       52.     The accused products include a device adapter that is configured to transmit data

during at least one of an assigned time phase associated with the device adapter prior to

transmission of data from the real-time device by the device adapter, and included in the plurality

of assigned time phases, or the free access phase, to refrain from transmitting data during time

phases of the plurality of assigned time phases that are not associated with the device adapter,

and to be able to determine whether to transmit or defer transmission of data during the assigned

time phase associated with the device adapter and the free access phase to allow the another

device to transmit data. For example, the accused products are configured to be used to

implement the IEEE 802.1Q standard. IEEE standard 802.1Q shows that scheduling of ports’

transmission gates for transmission of data starts prior to the transmission of real-time data. The

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functionality of assigned time phases is achieved using open gates transmitting data packets

during scheduled transmission time. Per Clause 8.6.8 of the IEEE Std. 802.1Q, each time phase

is assigned to a specific device adapter prior to transmission of real-time data by the specific

device adapter. Furthermore, IEEE 802.1Q performs traffic shaping through Per-Stream

Filtering and Policing (PSTP). IEEE standard 802.1Q implements a method in which open gates

transmit data packets during transmission time and closed gates refrain data packets from

transmission. The functionality of assigned time phases is achieved using open gates transmitting

data packets during transmission time. The functionality of free access phase is achieved by the

gates that are opened for transmission during any time. IEEE Std. 802.1Q supports Forwarding

and Queuing Enhancements for Time Sensitive Streams. Thus, one of the plurality of device

adaptors is configured to transmit data during at least one of a respective assigned time phase or

free access phase, to refrain from transmitting data during time phases not assigned to the

respective one of the plurality of device adapters. IEEE Std. 802.1Q provides traffic shaping for

various classes of data transmission and determining whether to transmit or defer transmission of

data during at least one of the assigned time phase or the free access phase to allow the another

device to transmit data.




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))



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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       53.     ADVA has infringed the ‘504 Patent by using the accused products and thereby

practicing a method that includes obtaining, at a device adapter, a substantially synchronized

time frame which is maintained among a plurality of device adapters interconnected by a

network, the time frame repeating periodically and including a plurality of assigned time phases

and a free access phase. For example, the accused products are used by ADVA to implement the


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IEEE 802.1Q standard. IEEE standard 802.1Q implements a method in which a time aware

bridged LAN transmits data from one end point i.e., Precision Time Protocol (PTP) instance to

another. The endpoints transmit data that is a mix of time-critical traffic and other traffic, (i.e.,

real time data and non-real time data) via PTP instances such as bridges (device adapters). The

end point can be either a real time device or a non-real time device. The bridged network uses

802.1AS base time to synchronize all the clocks of ports associated with bridges (device

adapters). Using the Best Master Clock Algorithm, the synchronization time signal is transmitted

from a grandmaster to other ports. IEEE Std. 802.1AS™-2011 is normative and essential to

implement an IEEE Std. 802.1Q Compliant System. IEEE Std. 802.1Q-2018 defines parameters,

such as AdminBaseTime and OpenBaseTime, which are used to synchronize the clocks across

the network. The bridges containing ports schedule the transmission of traffic based on the

synchronized time. Each port associated with a specific set of transmission queries includes a

plurality of transmission gates. A transmission gate can be in a closed state or open state. The

functionality of assigned time phases is achieved using open gates transmitting data packets

during transmission time. The functionality of a free access phase is achieved when the gates are

opened for transmission during any time. IEEE Std. 802.1Q-2018 supports cyclic queuing and

forwarding structures to create synchronized frames and gates which repeat periodically (Annex

T).




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1114.pdf)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
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v01.pdf)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       54.     The methods practiced by ADVA’s use of the accused products include

controlling transmission of data during at least one of an assigned time phase assigned to the

device adapter prior to transmission of real-time data by the device adapter, and included in the

plurality of assigned time phases, or the free access phase. For example, the accused products

are used by ADVA to implement the IEEE 802.1Q standard. IEEE standard 802.1Q shows that

scheduling (controlling) of transmission gates ports for transmission of data starts prior to the

transmission of real-time data. The functionality of assigned time phases is achieved using open

gates transmitting data packets during scheduled transmission time. Per Clause 8.6.8 of the

IEEE Std. 802.1Q, each time phase is assigned to a specific device adapter prior to transmission

of real-time data by the specific device adapter. IEEE 802.1Q performs traffic shaping through

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Per-Stream Filtering and Policing (PSFP). In IEEE 802.1Q, open gates transmit data packets

during transmission time and closed gates refrain data packets from transmission. The

functionality of assigned time phases is achieved using open gates transmitting data packets

during transmission time. The functionality of free access phase is achieved by the gates that are

opened for transmission during any time. IEEE Std. 802.1Q supports Forwarding and Queuing

Enhancements for Time Sensitive Streams. The ports of device adapters are assigned a time for

transmission based on priority and credit-based algorithm. So, there will be instances when the

transmission of data is refrained based on priority. Thus, one of the plurality of devices is

configured to transmit data during at least one of a respective assigned time phase or free access

phase, to refrain from transmitting data during time phases not assigned to the respective one of

the plurality of device adapters. IEEE Std. 802.1Q provides traffic shaping for various classes of

data transmission and determining whether to defer transmission of data during at least one of

the assigned time phase or the free access phase to allow a non-real time device to transmit data.




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: http://www.ieee802.org/1/files/public/docs2014/bv-p802-1Qbv-par-modification-
1114.pdf)




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)




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       55.     The methods practiced by ADVA’s use of the accused products include refraining

from transmitting data during time phases of the plurality of assigned time phases that are not

associated with the device adapter. For example, the accused products are used by ADVA to

implement the IEEE 802.1Q standard. IEEE standard 802.1Q performs traffic shaping through

Per-Stream Filtering and Policing (PSFP). In IEEE 802.1Q, open gates transmit data packets

during transmission time and closed gates refrain data packets from transmission. The

functionality of assigned time phases is achieved using open gates transmitting data packets

during transmission time. The functionality of free access phase is achieved by the gates that are

opened for transmission during any time. IEEE Std. 802.1Q supports Forwarding and Queuing

Enhancements for Time Sensitive Streams. The ports of device adapters are assigned a time for

transmission based on priority and credit-based algorithm. So, there are instances when the

transmission of data is refrained based on priority. Thus, one of the plurality of devices is

configured to transmit data during at least one of a respective assigned time phase or free access

phase, to refrain from transmitting data during time phases not assigned to the respective one of

the plurality of device adapters.




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)



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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)

       56.     The plurality of device adaptors recited above in connection with ADVA’s use of

the accused products includes determining whether to defer transmission of data during the

assigned time phase assigned to the device adapter if the device adapter has data to transmit

during the assigned time phase assigned to the device adapter, to allow another device to transmit

data during the assigned time phase assigned to the device adapter; and determining whether to

defer transmission of data during the free access phase if the device adapter has data to transmit

during the free access phase, to allow the another device to transmit data during the free access

phase. For example, the accused products are used by ADVA to implement the IEEE 802.1Q

standard. IEEE standard 802.1Q implements a method in which open gates transmit data packets

during transmission time and closed gates refrain data packets from transmission. The

functionality of assigned time phases is achieved using open gates transmitting data packets

during transmission time. The functionality of free access phase is achieved by the gates that are

opened for transmission during any time. IEEE Std. 802.1Q supports Forwarding and Queuing

Enhancements for Time Sensitive Streams. The ports of device adapters are assigned a time for


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transmission based on priority and credit-based algorithm. So, there will be instances when the

transmission of data is refrained based on priority. Thus, one of the plurality of devices is

configured to transmit data during at least one of a respective assigned time phase or free access

phase, to refrain from transmitting data during time phases not assigned to the respective one of

the plurality of device adapters. IEEE Std. 802.1Q provides traffic shaping for various classes of

data transmission and determining whether to defer transmission of data during at least one of

the assigned time phase or the free access phase to allow another device (non-real time device) to

transmit data.




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




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(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged
Networks- IEEE Std 802.1Q™-2018)




(Source: IEEE Standard for Local and Metropolitan Area Networks—Bridges and Bridged

Networks- IEEE Std 802.1Q™-2018)

       57.     Far North Patents has been damaged as a result of the infringing conduct by

ADVA alleged above. Thus, ADVA is liable to Far North Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.




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       58.     Far North Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘504 Patent.

                                            COUNT V

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 6,661,804

       59.     On December 9, 2003, United States Patent No. 6,661,804 (“the ‘804 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Methods and Apparatus for Providing Quality-of-Service Guarantees in Computer

Networks.”

       60.     Far North Patents is the owner of the ‘804 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘804 Patent against infringers, and to collect damages for all relevant times.

       61.     ADVA made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its ADVA FSP 150-

GO102Pro and ADVA FSP 150-GE102Pro families of products that include advanced quality of

service capabilities (collectively, “accused products”).




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site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




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site/resources/data-sheets/pdfs/fsp-150-go-102-pro-series.ashx?la=de-

de&hash=5122080C1CCB4C881E30D8D62F0DF92DF16C098B)




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DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)




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DE&hash=46C2728AB543DEB24ECC9B31953C3463C4325AB5)

        62.     By doing so, ADVA has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 22 of the ‘804 Patent.

        63.     ADVA has infringed the ‘804 Patent by using the accused products and thereby

practicing a method including defining a common time reference for a plurality of device

adapters, said common time reference including a time frame having a plurality of time phases,

each of said device adapters capable of being uniquely assigned to at least one of said time

phases, said time phases including a free-access phase. For example, the accused products are

used by ADVA to implement the IEEE 802.1Q standard. IEEE standard 802.1Q implements a

method in which a time aware bridged LAN transmits data from one end point i.e., Precision

Time Protocol (“PTP”) instance to another. The endpoints transmit data that is a mix of time-

critical traffic and other traffic, (i.e., real time data and non-real time data) via PTP instances

such as bridges (device adapters). The time aware bridged LAN use 802.1AS base time to

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maintain synchronized time (common time reference) for all the ports in the bridges (device

adapters). The bridges containing ports schedule the transmission of traffic based on the

synchronized time. Each port associated with a specific set of transmission queues includes a

plurality of transmission gates. A transmission gate can be in a closed state or open state. The

functionality of assigned time phases is achieved using open gates transmitting data packets

during transmission time. The functionality of free access phase is achieved when the gates are

opened for transmission during any time. IEEE Std. 802.1AS™ is normative and essential to

implement an IEEE Std. 802.1Q Compliant System.




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(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))

       64.     The methods practiced by ADVA’s use of the accused products include allowing

a specified device adapter to transmit packets during time phase uniquely assigned to the

specified device adapter and during said free-access phase. For example, the accused products

are used by ADVA to implement the IEEE 802.1Q standard. The open gates assigned to the

transmission queue of a port (device adapter) transmit the data packets during the transmission

time. The transmission selection algorithm determines the transmission time. If the gates are in

permanent open state, the data packets are transmitted from the gates during any time. The

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functionality of assigned time phases is achieved using open gates transmitting data packets

during transmission time. The functionality of free access phase is achieved when the gates are

permanently opened for transmission during any time.




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged
Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))




(Source: IEEE Standard for Local and metropolitan area networks— Bridges and Bridged

Networks Amendment 25: Enhancements for Scheduled Traffic (IEEE 802.1Qbv-2015))

       65.     The methods practiced by ADVA’s use of the accused products include

designating one of said device adapters as a master timing device. For example, the accused

products are used by ADVA to implement the IEEE 802.1Q standard. IEEE standard 802.1Q

implements a method in which a time aware bridged LAN transmits data from one Precision


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Time Protocol (PTP) instance (device adapter) to another. The ports of the time aware bridge use

best master clock algorithm (BMCA) to determine a potential grandmaster port (master timing

device).




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       66.    The methods practiced by ADVA’s use of the accused products include

synchronizing the remaining device adapters with the designated master timing device. For

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example, the accused products are used by ADVA to implement the IEEE 802.1Q standard. The

boundary clocks of the slave ports in the time aware bridges (remaining device adapters) are

synchronized with the grandmaster boundary clock (master timing device).




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(Source: https://1.ieee802.org/wp-content/uploads/2019/03/802-1AS-rev-d8-0.pdf)

       67.     Far North Patents has been damaged as a result of the infringing conduct by

ADVA alleged above. Thus, ADVA is liable to Far North Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.




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       68.     Far North Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘804 Patent.

             ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

       69.     ADVA has also indirectly infringed the ‘053 Patent, the ‘702 Patent, the ‘797

Patent, the ‘504 Patent, and the ‘804 Patent by inducing others to directly infringe the ‘053

Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the ‘804 Patent. ADVA has

induced the end-users, ADVA’s customers, to directly infringe (literally and/or under the

doctrine of equivalents) the ‘053 Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the

‘804 Patent by using the accused products.

       70.     ADVA took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause them to use the accused products in a manner that

infringes one or more claims of the patents-in-suit, including, for example, Claims 1 and 14 of

the ‘053 Patent, Claim 27 of the ‘702 Patent, Claim 30 of the ‘797 Patent, Claims 1 and 6 of the

‘504 Patent, and Claim 22 of the ‘804 Patent.

       71.     Such steps by ADVA included, among other things, advising or directing

customers and end-users to use the accused products in an infringing manner; advertising and

promoting the use of the accused products in an infringing manner; and/or distributing

instructions that guide users to use the accused products in an infringing manner.

       72.     ADVA has performed these steps, which constitute induced infringement, with

the knowledge of the ‘053 Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the ‘804

Patent and with the knowledge that the induced acts constitute infringement.




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        73.     ADVA was and is aware that the normal and customary use of the accused

products by ADVA’s customers would infringe the ‘053 Patent, the ‘702 Patent, the ‘797 Patent,

the ‘504 Patent, and the ‘804 Patent. ADVA’s inducement is ongoing.

        74.     ADVA has also induced its affiliates, or third-party manufacturers, shippers,

distributors, retailers, or other persons acting on its or its affiliates’ behalf, to directly infringe

(literally and/or under the doctrine of equivalents) the ‘053 Patent, the ‘702 Patent, the ‘797

Patent, the ‘504 Patent, and the ‘804 Patent by importing, selling or offering to sell the accused

products.

        75.     ADVA has at least a significant role in placing the accused products in the stream

of commerce in Texas and elsewhere in the United States.

        76.     ADVA directs or controls the making of accused products and their shipment to

the United States, using established distribution channels, for sale in Texas and elsewhere within

the United States. For example, ADVA uses at least Sanmina-Sci (Shenzhen) Ltd and ADVA

Optical Networking North America, Inc. to ship the accused products and to distribute the

accused products within the United States.

        77.     ADVA directs or controls the sale of the accused products into established United

States distribution channels, including sales to nationwide retailers.

        78.     ADVA’s established United States distribution channels include one or more

United States based affiliates (e.g., at least ADVA Optical Networking North America, Inc.).

        79.     ADVA directs or controls the sale of the accused products nationwide through its

own websites, including for sale in Texas and elsewhere in the United States, and expects and

intends that the accused products will be so sold.




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       80.     ADVA took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause such persons to import, sell, or offer to sell the accused

products in a manner that infringes one or more claims of the patents-in-suit, including, for

example, Claims 1 and 14 of the ‘053 Patent, Claim 27 of the ‘702 Patent, Claim 30 of the ‘797

Patent, Claims 1 and 6 of the ‘504 Patent, and Claim 22 of the ‘804 Patent.

       81.     Such steps by ADVA included, among other things, making or selling the accused

products outside of the United States for importation into or sale in the United States, or knowing

that such importation or sale would occur; and directing, facilitating, or influencing its affiliates,

or third-party manufacturers, shippers, distributors, retailers, or other persons acting on its or

their behalf, to import, sell, or offer to sell the accused products in an infringing manner.

       82.     ADVA performed these steps, which constitute induced infringement, with the

knowledge of the ‘053 Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the ‘804

Patent and with the knowledge that the induced acts would constitute infringement.

       83.     ADVA performed such steps in order to profit from the eventual sale of the

accused products in the United States.

       84.     ADVA’s inducement is ongoing.

       85.     ADVA has also indirectly infringed by contributing to the infringement of the

‘053 Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the ‘804 Patent. ADVA has

contributed to the direct infringement of the ‘053 Patent, the ‘702 Patent, the ‘797 Patent, the

‘504 Patent, and the ‘804 Patent by the end-user of the accused products.

       86.     The accused products have special features that are specially designed to be used

in an infringing way and that have no substantial uses other than ones that infringe the ‘053

Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the ‘804 Patent, including, for



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example, Claims 1 and 14 of the ‘053 Patent, Claim 27 of the ‘702 Patent, Claim 30 of the ‘797

Patent, Claims 1 and 6 of the ‘504 Patent, and Claim 22 of the ‘804 Patent.

       87.     The special features include advanced quality of service capabilities, used in a

manner that infringes the ‘053 Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the

‘804 Patent.

       88.     The special features constitute a material part of the invention of one or more of

the claims of the ‘053 Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the ‘804

Patent and are not staple articles of commerce suitable for substantial non-infringing use.

       89.     ADVA’s contributory infringement is ongoing.

       90.     Furthermore, ADVA has a policy or practice of not reviewing the patents of

others (including instructing its employees to not review the patents of others), and thus has been

willfully blind of Far North Patents’ patent rights. See, e.g., M. Lemley, “Ignoring Patents,”

2008 Mich. St. L. Rev. 19 (2008).

       91.     ADVA’s actions are at least objectively reckless as to the risk of infringing valid

patents and this objective risk was either known or should have been known by ADVA.

       92.     ADVA has knowledge (at least constructively through its willful blindness) of the

‘053 Patent, the ‘702 Patent, the ‘797 Patent, the ‘504 Patent, and the ‘804 Patent.

       93.     ADVA’s customers have infringed the ‘053 Patent, the ‘702 Patent, the ‘797

Patent, the ‘504 Patent, and the ‘804 Patent.

       94.     ADVA encouraged its customers’ infringement.

       95.     ADVA’s direct and indirect infringement of the ‘053 Patent, the ‘702 Patent, the

‘797 Patent, the ‘504 Patent, and the ‘804 Patent is, has been, and/or continues to be willful,




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intentional, deliberate, and/or in conscious disregard of Far North Patents’ rights under the

patents.

       96.     Far North Patents has been damaged as a result of the infringing conduct by

ADVA alleged above. Thus, ADVA is liable to Far North Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                         JURY DEMAND

       Far North Patents hereby requests a trial by jury on all issues so triable by right.

                                     PRAYER FOR RELIEF

       Far North Patents requests that the Court find in its favor and against ADVA, and that the

Court grant Far North Patents the following relief:

       a.      Judgment that one or more claims of the ‘053 Patent, the ‘702 Patent, the ‘797

Patent, the ‘504 Patent, and the ‘804 Patent have been infringed, either literally and/or under the

doctrine of equivalents, by ADVA and/or all others acting in concert therewith;

       b.      A permanent injunction enjoining ADVA and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

concert therewith from infringement of the ‘053 Patent; or, in the alternative, an award of a

reasonable ongoing royalty for future infringement of the ‘053 Patent by such entities;

       c.      Judgment that ADVA account for and pay to Far North Patents all damages to and

costs incurred by Far North Patents because of ADVA’s infringing activities and other conduct

complained of herein, including an award of all increased damages to which Far North Patents is

entitled under 35 U.S.C. § 284;

       d.      That Far North Patents be granted pre-judgment and post-judgment interest on the



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damages caused by ADVA’s infringing activities and other conduct complained of herein;

       e.     That this Court declare this an exceptional case and award Far North Patents its

reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

       f.     That Far North Patents be granted such other and further relief as the Court may

deem just and proper under the circumstances.

Dated: March 25, 2020                       Respectfully submitted,

                                            /s/ Zachariah S. Harrington
                                            Matthew J. Antonelli
                                            Texas Bar No. 24068432
                                            matt@ahtlawfirm.com
                                            Zachariah S. Harrington
                                            Texas Bar No. 24057886
                                            zac@ahtlawfirm.com
                                            Larry D. Thompson, Jr.
                                            Texas Bar No. 24051428
                                            larry@ahtlawfirm.com
                                            Christopher Ryan Pinckney
                                            Texas Bar No. 24067819
                                            ryan@ahtlawfirm.com

                                            ANTONELLI, HARRINGTON
                                            & THOMPSON LLP
                                            4306 Yoakum Blvd., Ste. 450
                                            Houston, TX 77006
                                            (713) 581-3000

                                            Attorneys for Far North Patents, LLC




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